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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA :                   Crim. No. 1:02-CR-237
                         :                   Civ. No. 1:16-CV-1242
          v.             :
                         :
TOBIAS A. CUNNINGHAM     :                   Judge Sylvia H. Rambo

                                     ORDER

      AND NOW, upon consideration of Defendant Tobias Cunningham’s Motion

to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody under 28

U.S.C. § 2255 and his related supplemental motion, (Docs. 146, 160), IT IS

HEREBY ORDERED THAT:

   1. Defendant’s motion is DENIED for the reasons set forth in the Court’s
      accompanying memorandum;

   2. There is no basis for the issuance of a certificate of appealability; and

   3. The Clerk of Court is directed to close civil case number 1:16-CV-1242.

SO ORDERED.


                                              /s/ Sylvia H. Rambo
                                              SYLVIA H. RAMBO
                                              United States District Judge


Dated: November 5, 2020
